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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                     Civil Action No. 1:21-CV-21537-JAL

  ROY S. SHIVER, JR.,                 )
                                      )
              Plaintiff,              )
  v.                                  )
                                      )
  THE CITY OF HOMESTEAD, Florida )
  GEORGE GRETSAS,                     )
  TOM MEAD,                           )
  RICKY RIVERA,                       )
              Defendants.             )
  ____________________________________/

                                    SECOND AMENDED COMPLAINT

           Plaintiff, ROY S. (“STEVE”) SHIVER, JR., sues Defendants, as follows:

           1.       This is an action to recover compensatory damages in excess of the jurisdictional

  limit of this Court for violations of 42 U.S.C. §1983 et seq. against Defendants for deprivation of

  rights, privileges and immunities secured by the federal Constitution.

                                        JURISDICTION AND VENUE

           2.       The City of Homestead (“City”), former City Manager George Gretsas (“Gretsas”)

  and Homestead Detectives Ricky Rivera (“Rivera”) and Tom Mead (“Mead”), all cooperated to

  violate Plaintiff’s civil rights, as alleged in detail below.

           3.       Through an unlikely turn of events in the Summer of 2020, proof of the violations

  was found on flash-drives left in the office of ex-City Manager Gretsas when he was fired from a

  subsequent job in the City of Delray Beach, Palm Beach County, Florida. On the flash-drives,

  Defendant Gretsas had maintained Dossiers on his perceived enemies, including a Dossier on

  Plaintiff with false, defamatory, and/or illegally obtained information.                      Defendant Gretsas


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  strategically deployed and disclosed such information to third parties to retaliate against Plaintiff’s

  exercise of his First Amendment rights.

           4.       The Dossier and its contents, themselves public records led the way to further

  public records requests. The information so developed, along with emails received from a local

  resident intimately connected with the inner circle of official power in City, showed the breadth

  and extent of the deprivations of Plaintiff’s rights, privileges and immunities secured by the U.S.

  Constitution described herein.

           5.       The City Dossier and its contents are public records, as they were created within

  the scope of Defendant Gretsas’ official employment to communicate, perpetuate, or formalize

  knowledge. Numerous portions of the Dossier containing private and false information concerning

  Plaintiff, were later strategically disclosed, and published by Defendant Gretsas within the scope

  of his employment by the City.

           6.       The deprivations and violations of law described herein, were part of an ongoing

  pattern, custom, and/or practice, in the City of adverse action against Plaintiff until at least

  December 2019 and were only discovered in their full extent in the summer of 2020.

           7.       The said pattern, custom, and/or practice having the force and effect of law, i.e., an

  unwritten policy, caused Plaintiff’s damages.

           8.       This Court has jurisdiction over the subject matter and the persons in this action

  pursuant to 42 U.S.C. §1983 and 42 U.S.C. §1988 (violation of Civil Rights); 28 U.S.C. § 1331

  (civil actions arising under the Constitution, laws, or treaties of the United States); and the First

  and Fourteenth Amendments to the United States Constitution.

           9.       Venue in this Court is proper under 28 U.S.C. § 1391.



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                                                     INTRODUCTION

           10.      Defendant George Gretsas was the City Manager of Homestead, Florida, from

  November 22, 2010, to January 3, 2020. Gretsas misused the power and authority of the state to

  illegally gather, write up, maintain, and distribute private and/or false information for a number of

  individuals for whom he maintained City Dossiers, including Plaintiff.

           11.      Gretsas used City resources without public purpose, including police detectives and

  tax-payer funded city attorneys to gather and maintain in a Dossier information about Plaintiff and

  others, and later disseminated such information strategically to retaliate against Plaintiff. But all

  of the alleged investigations of Plaintiff were retaliatory and ultimately closed without charges.

           12.      The City of Homestead, by and through its manager, police chief, the mayor at the

  time, as well as City Council members Judy Waldman, Jimmie Williams, Jon Burgess and Elvis

  Maldonado, knew of this practice and policy, and/or acquiesced to such unlawful behavior.

  Accordingly, every possible final policy maker respecting the actions of the Homestead Police

  Department (“HPD”) knew of this practice and policy, and/or acquiesced to such unlawful

  behavior. Gretsas was the City’s ultimate policy maker on these matters, and upon information

  and belief either ordered or personally carried out the retaliatory acts complained of herein.

           13.      Additional individuals and entities became aware of information in the illegally

  gathered and maintained Dossiers, and became aware of the retaliatory conduct of Homestead’s

  policymakers, and wittingly or unwittingly accepted and enabled the Defendants’ conduct.

  Plaintiff reserves his right to amend these pleadings if it is found in discovery that any such

  individual actively participated in the conduct leading to this action.




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           14.      The willful and wanton violations of the Plaintiff’s legal rights under color of state

  law shock the conscience, requiring compensatory and/or punitive damages against those

  participating, as permitted by law.

           15.      Defendants Gretsas and the City Council, all had supervisory liability in that they

  were authorized decision-makers who either ordered the constitutional violations alleged below or

  were aware of them and countenanced them, and thus proximately caused Plaintiff’s damages.

           16.      Defendant Gretsas explicitly directed employees and agents of the City of

  Homestead to perpetrate the illegal actions set forth below. In the alternative, the City Council

  and/or Defendant Gretsas all failed to intervene and to stop the known unlawful actions of their

  subordinates. In fact, Defendant Gretsas personally participated in the retaliatory publishing of

  defamatory material, which he knew to be false or misleading, and published with actual and

  express malice.

           17.      Defendant Gretsas, and/or City Council’s ordering of and/or failure to stop such

  unlawful conduct in their supervisory capacities caused the violation of Plaintiff’s clearly

  established constitutional rights of which a reasonable person would have known, all as more fully

  set forth below. A reasonable person in the situation the Defendants, and the Supervisors,

  confronted would have known that the conduct set forth herein was unlawful.

                                                THE PLAINTIFF

           18.      Plaintiff was at all times material to the allegations a citizen and resident of Miami

  Dade County, Florida. A life-long resident of Homestead, he served three terms on the Homestead

  municipal council, two as mayor. In 2001 he was appointed Manager for Miami-Dade County,

  serving until 2004, when he went into the private sector. Plaintiff later served a brief time as



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  Manager of the City of Opa-locka, Florida, and subsequently as Executive Director with the South

  Florida Police Benevolent Association (“SFPBA”).

           19.      Throughout his career, Plaintiff remained outspoken about politics and civic causes

  in his hometown, and thus became a target of the retaliatory conduct by Defendants.

           20.      Upon information and belief, Defendant Gretsas began assembling a Dossier

  against Plaintiff as soon as Plaintiff began to speak against Gretsas publicly and online and

  continued at least through 2019. Plaintiff, unbeknownst to him, was also included in another

  Dossier prepared against a different perceived adversary of Gretsas, HPD Captain William Rea.

           21.      Throughout this time, Defendant Gretsas, released false and misleading

  information he had gathered and created against Plaintiff within the scope of his employment with

  the City, causing Plaintiff to ultimately be terminated from his job with an unrelated employer,

  publicly humiliated and ultimately losing his race for mayor.

                                                   THE DEFENDANTS

           22.      Defendant City of Homestead is a Florida municipal corporation, located within

  Miami-Dade, Florida, and is a “person” for purposes of §1983.

           23.      Defendant, George Gretsas, was at all times material City Manager of Homestead.

  He was the chief executive officer of City, having ultimate and final policy-making authority and

  power over all personnel decisions, public records policy, and over policing policy. Under

  Homestead’s Charter, the City Manager is appointed by, and serves at the pleasure, of the City

  Council and Mayor of Homestead.

           24.      Defendants Mead and Rivera at all times material were police detectives within the

  HPD. Within the scope of their employment, they illegally investigated Plaintiff outside of official

  channels and violated Plaintiff’s rights in other ways, as set forth herein.

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           25.      Plaintiff’s primary cause of action is one for violation of his constitutional rights

  under color of state law:          Plaintiff engaged in constitutionally protected free speech, and

  Defendants retaliated against his well-established rights in violation of law.

                                                            FACTS

           Plaintiff’s Protected Activities:

        Protected Activity I – Plaintiff published online and publicly about waste, fraud, and
  abuse within the City’s government, including about Defendant Gretsas:

           26.      On May 20, twice on May 24, June 24, and July 5, 2017, Plaintiff in Facebook posts

  criticized and raised questions about significant construction projects proposed or supported by

  Gretsas and other government abuse in Homestead. Also in 2017, Plaintiff publicly spoke to

  various persons about the same issues.

         Protected Activity II – Confronting members of the HPD about improper policing of
  Plaintiff in Homestead:

           27.      On May 20th, 2019, Plaintiff wrote on Facebook about the defamation and police

  harassment of himself and family and complained to HPD Captain Scott Kennedy that he was tired

  of getting maligned and defamed by Defendant Gretsas. Thereafter, Plaintiff spoke again to

  Captain Scott Kennedy at Plaintiff’s place of business and similarly expressed his frustrations.

  Likewise, beginning on July 1, 2019, Plaintiff communicated with Defendant Mead via text

  messages and on the telephone, requesting that the HPD should leave him alone.

           Protected Activity III – Plaintiff Running for City Mayor:
           28.      On July 1, 2019, Plaintiff announced a run for mayor of Homestead, and spoke out

  freely about his position on political and civic issues, criticizing Homestead’s government and

  management at the time. Plaintiff communicated his criticisms via Facebook, in public speeches,

  campaign events, and personal conversations.

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           Defendants’ conduct in retaliation to Plaintiff’s protected activity

           Adverse Action I – Improperly gathering information about Plaintiff:

           29.      On May 22, 2017, two days after Plaintiff began to speak out (see ¶26, supra),

  Homestead citizen Pat Pascuzzo wrote an email to Miami Herald Reporter Monique O. Madan,

  with the subject “More Info Shiver Stuff:” In the email, Mr. Pascuzzo wrote: “The City of

  Homestead has a detective that serves as the FBI liaison, his name is Tom Mead. Tom Mead is in

  charge of the Shiver/Homestead investigation. He has brought the FBI up to date because they

  needed subpoenas for financials.”

           30.      On the flash drives left behind by Defendant Gretsas after his firing from the City

  of Delray Beach in 2020, and from targeted public records request thereafter, Plaintiff found

  evidence of the following instances of improper information gathering by HPD officers at the

  direction of or with the knowledge of Defendant Gretsas:

           31.      June 4, 2018, Defendant Gretsas prepared a memorandum seeking an “inventory of

  every failure [Plaintiff] has had.” In the memorandum, City manager Gretsas ordered Defendants

  Mead and Rivera to investigate numerous legal cases in Tennessee and North Carolina, and to

  access all negative information they could find on Plaintiff. The memorandum also asked for

  negative information on Plaintiff’s father, Roy S. Shiver, councilman in neighboring Florida City.

  This memorandum was a blueprint for the retaliatory investigation to be undertaken against

  Plaintiff.

           32.      Defendants Rivera and Mead complied with Defendant Gretsas’ instructions and

  searched for and seized information concerning Defendant Shiver. They, and possibly other

  members of the HPD, used municipal resources to follow and investigate Plaintiff, his wife, his

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  father, and his associates and friends without probable cause or reasonable suspicion of illegal

  activities, solely for the purpose of developing damaging information about Plaintiff.

           33.      HPD officers took secret photographs, entirely outside of an official investigation

  into any wrongdoing, far outside City limits, of Plaintiff’s associates placing election signs

  throughout Miami-Dade County. Employees of the HPD thus acted as a rogue unit controlled by

  Defendant Gretsas, with his explicit knowledge and/or approval, for purposes not related to the

  legitimate exercise of police power.

           34.      Detective Rivera illegally accessed Plaintiff’s Drivers Information seeking adverse

  information concerning Plaintiff. Defendant Rivera knowingly obtained, disclosed or used the

  personal information of Plaintiff from the DAVID/NCIC/FCIC motor vehicle records for a use not

  permitted and by making a false representation to obtain information negative concerning Plaintiff.

  Doing so, he violated 18 U.S.C. §2722 (Prohibition on release and use of certain personal

  information from state motor vehicle records related to illegal searches of restricted government

  databases).

           35.      Further, Defendant Mead, who was the HPD’s FBI Liaison, actually obtained from

  federal resources two Banking Suspicious Activity Reports (“SARs”) regarding Plaintiff, and then

  sent these confidential reports to City officials and to Defendant Gretsas via Gretsas’ personal

  Gmail account.

           36.      Perhaps the most depraved discovery found in the flash drives and emails retrieved

  in public information requests was a scheme spear-headed by Defendant Gretsas to collect physical

  “evidence” from the garbage of Plaintiff. Email chains obtained in public records requests clearly

  show that Plaintiff’s garbage was “collected” by a private individual outside of the City

  boundaries, and then transported to a location inside the City limits and placed in the back of a

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  pick-up truck, to be collected there by HPD. The garbage bag allegedly contained straws with

  residue of cocaine and other incriminating items. Gretsas willingly accepted the garbage from the

  private individual who claimed to have collected it from Plaintiff’s house, and integrated some

  information gleaned from Plaintiff’s alleged trash into his PowerPoint presentations and lengthy

  memorandum, all in an effort to harm Plaintiff.

           37.      Defendant Gretsas also requested, and Homestead City attorneys Weiss Serota

  Helfman obtained and provided to Gretsas, transcripts of a deposition given by Plaintiff in a

  personal bankruptcy case.

        Adverse Action II – Creating public records with false or misleading information
  concerning Plaintiff:

           38.      On or about May 15, 2019, Defendant Gretsas created a 228-page PowerPoint

  presentation, entitled “Miami Herald-Shiver Draft,” with negative information about Plaintiff,

  spanning 20 years of Plaintiff’s public service career. Much of the information was taken out of

  context and was false and/or misleading. The presentation also contained false information against

  former HPD Captain William Rae.

           39.      The 228-page PowerPoint presentation also contained false information concerning

  Plaintiff’s father and business associates, and other false or misleading information. For example,

  the presentation contained a section called “Felon Sign Brigade” with photographs taken by HPD

  officers of election signs being legally set up by Plaintiff’s associates in Miami-Dade County.

           40.      Defendant Gretsas also created a 30-page PowerPoint presentation for Reporter

  Michael Putney, containing more misrepresentations concerning Defendant Gretsas.

           41.      Also on the flash drives was a crime-syndicate chart showing an entirely fake

  money laundering investigation against former Homestead Police Captain William Rea, in 2013,


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   where Plaintiff Shiver was shown as a co-conspirator in the non-existing money laundering

   scheme. In reality, there never was such an investigation, and there definitely never was any

   money laundering activity on the part of Plaintiff. The fake money-laundering flow-chart also

   included Plaintiff’s father Roy S. Shiver and photos of business in neighboring Florida City, all

   without any connection to illegal activity whatsoever. The chart bears the misleading and libelous

   legend “at this time no subpoenas obtained or served.”

            42.      One of the more shocking discoveries on Gretsas’ flash drives was a four-page fact

   sheet on Plaintiff, containing numerous pieces of personal information, such as complete credit

   card numbers and passwords, complete bank account numbers, Plaintiff’s children’s health

   insurance information, social security numbers, prescriptions and medications of his entire family,

   and the false allegation that cocaine was found in Plaintiff’s possession.

            43.      On June 15, 2018, Defendant Mead sent an email entitled “interesting reading” to

   Defendant Gretsas’ private email address, bearing Detective Mead’s FBI signature block, attaching

   the illegally gathered SARs concerning Plaintiff. The email with the attached SARs was also

   located on Defendant Gretsas’ City flash drives. While Plaintiff’s activity reported in the SARs

   was not improper, the mere possession by and sharing of SARs by Defendant Mead with Manager

   Gretsas and the City is likely illegal/felonious. Using private emails to circumvent public records

   law also violated Florida law but did not prevent the information from becoming a public record,

   as these records and communications became part of the official business of City and were meant

   to communicate, perpetuate, or formalize knowledge.

            44.      Defendant Gretsas further prepared a 109-page memorandum concerning Plaintiff,

   alleging that the HPD was conducting three separate criminal investigations against Plaintiff. The

   memorandum contained false allegations of drug use by Plaintiff.

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             45.     Also placed in the Homestead public records was a copy of the deposition given by

   Plaintiff in a personal bankruptcy proceeding.

          Adverse Action III – Targeted disclosure of illegally gathered information concerning
   Plaintiff to the press and the public.

             46.     Defendant Gretsas repeatedly communicated false and misleading information

   about Plaintiff he had gathered with City resources to third parties, including without limitation

   Homestead’s mayor and council, civic leaders, local residents, and at least twice to the Miami

   Herald.

             47.     Upon information and belief, the 228-page PowerPoint presentation entitled

   “Miami Herald-Shiver Draft” was sent by Gretsas to the Miami Herald. In turn, the Miami Herald

   published highly negative articles on May 22, 2018, and on May 26, 2018, which included

   information and photographs from the 228-page PowerPoint presentation.

             48.     A portion of the 109-page memorandum described above in paragraph 44, was sent

   by Gretsas’ assistant, Jason King, to Monique O. Madan on or about June 13, 2019. The email

   from Jason King to Monique O. Madan contained the following statement, along with excerpts of

   the 109-page memorandum:

                     This report has been written in response to false allegations made by
                     Steve Shiver (a.k.a Roy Stephen Shiver, Jr., a/k/a Roy S. Shiver,
                     a.k.a. Roy S. Shiver, Jr., a.k.a. Stephen Shiver, a.k.a. Roy Stephen
                     Shiver, a.k.a. Shiver Roy S, Jr.) that he has been the target of
                     improper policing by the Homestead Police Department (HPD). His
                     claims are without merit. Mr. Shiver has been the subject of three
                     separate, unrelated and properly conducted criminal investigations
                     by the Homestead Police Department over the past two and a half
                     years. Two of the unrelated cases are still open and one has been
                     closed. The first report will only address the closed case, in which
                     Mr. Shiver was the subject of a narcotics investigation. The two
                     other cases are still active.



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            49.      On July 1 and July 3, 2019, just after Plaintiff Shiver had announced his run for

   Homestead Mayor, Defendant Gretsas sent the 109-page memorandum to the Mayor and City

   Council of Homestead via the Homestead email system.

            50.      On July 3, 2019, Gretsas’ assistant Jason King sent the final version of the 109-

   page memorandum to the Miami Herald’s Monique O. Madan, copying Defendant Gretsas with

   the subject “as per your request.”

            51.      Also on July 3, 2019, at 8.57 am, Homestead Citizen Pat Pascuzzo emailed the

   Miami Herald’s Monique O. Madan asking whether she had received a copy of the Shiver City of

   Homestead Police Investigation. Monique O. Madan replied back at 8:58 am: “you’re late.”

            52.      On the very same day, July 3, 2019, the Miami Herald published another negative

   article based upon the false and/or misleading information in Defendant Gretsas’ 109-page

   memorandum.

            53.      Defendant Gretsas also presented the information he and officers of the HPD had

   gathered to civic leaders in Homestead. Some of the presentations by Gretsas took place in City

   offices, where Defendant Gretsas disclosed selected materials from Plaintiff’s Dossier to police

   chief Alexander Rolle, then-mayor Jeffrey Porter , City Council members Judy Waldman, Jimmie

   Williams, Jon Burgess and Elvis Maldonado, as on information and belief also to other private

   persons.

            Adverse Action IV – Contacting Plaintiff’s Employer with negative information:

            54.      In the June 4, 2018, memorandum by Defendant Gretsas (see ¶31, above),

   Defendant Gretsas articulated 18 specific derogatory points he wanted made by to Plaintiff’s

   employer. After the June 4, 2018, memorandum was prepared, Homestead Police Captain Scott

   Kennedy, under order and/or direction of Defendant Gretsas, contacted Steadman Stahl, President

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   of the SFPBA, where Plaintiff was employed at the time. Upon information and belief, Captain

   Scott Kennedy or other HPD officers gave derogatory information concerning Plaintiff to

   Plaintiff’s employer.

                                                  COUNT I
                             VIOLATION OF PLAINTIFF’S CIVIL RIGHTS
                   against Detective Ricky Rivera for improper investigation of Plaintiff
                         in retaliation for Plaintiff’s Protected Activities I and II.
                                               42 U.S.C. §1983

            55.      Plaintiff realleges and reavers paragraphs 1 – 3, 6-9, 18-19, 24-28, and 29-34, as

   though fully set forth herein.

            56.      Plaintiff is a citizen for purposes of 42 U.S.C. §1983.

            57.      Defendant Rivera by and though his actions set forth herein, violated Plaintiff’s

   rights protected by the First Amendment to the U.S. Constitution.

            58.      Defendant Rivera, sued in his individual capacity, is a “person'' according to 42

   U.S.C. §1983, and at all times material hereto, was employed by Defendant City.

            59.      Plaintiff exercised his First Amendment rights to speech, press, and petition by

   speaking out critically online and to individuals who would listen about waste, fraud, and/or abuse

   by George Gretsas and within City, and spoke about police harassment he endured. See allegations

   at ¶¶26-28.

            60.      Defendant Rivera retaliated against Plaintiff by conducting a retaliatory and

   clandestine investigation without a legitimate law enforcement purpose, keeping it off the books,

   but providing the results of this investigation which included false and/or misleading statements

   and/or arrangements of documents to his supervisor Gretsas. Defendant Rivera was directed to

   perform this improper investigation by Defendant Gretsas and/or Chief Rolle, and Defendant



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   Rivera was aware that the Dossier he helped construct contained false and misleading material and

   would be used to harm and defame Plaintiff. See allegations at ¶¶30-34.

            61.      Defendant Rivera’s retaliatory actions would chill a man of ordinary firmness in

   the exercise of well-established rights.

            62.      Defendant Rivera would not have retaliated against Plaintiff, but for Plaintiff’s

   exercise of his well-established First Amendment rights, and there is a causal connection between

   the exercise of Plaintiff’s rights and the adverse conduct of Defendant Rivera.

            63.      Defendant Rivera’s actions in violating Plaintiff’s constitutional rights were done

   under color of state law, and were malicious and wanton, displaying deliberate indifference to the

   rights and liberties of Plaintiff.

            64.      As a direct and proximate result of Defendant Rivera’s actions, Plaintiff suffered

   damages from the denial of his constitutional rights under the First Amendment to the United

   States Constitution and is accordingly entitled to relief under 42 U.S.C. §1983.

            WHEREFORE, Plaintiff prays that this Court will:

                     a. Enter judgment for Plaintiff against Defendant Rivera for compensatory,
                        nominal and punitive damages.

                     b. Award Plaintiff the costs of this action, including reasonable attorneys’ fees
                        pursuant to 42 U.S.C. §1988.

                     c. Grant such other and further relief as is just.


                                                 COUNT II
                             VIOLATION OF PLAINTIFF’S CIVIL RIGHTS
                    against Detective Tom Mead for improper investigation of Plaintiff
                         in retaliation for Plaintiff’s Protected Activities I and II.
                                               42 U.S.C. §1983




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            65.      Plaintiff realleges and reavers paragraphs 1 – 3, 6-9, 18-19, 24-35 and 43, though

   fully set forth herein.

            66.      Plaintiff is a citizen for purposes of 42 U.S.C. §1983.

            67.      Defendant Mead by and though his actions set forth herein, violated Plaintiff’s

   rights protected by the First Amendment to the U.S. Constitution.

            68.      Defendant Mead, sued in his individual capacity, is a “person'' according to 42

   U.S.C. §1983, and at all times material hereto, was employed by City of Homestead.

            69.      Plaintiff exercised his First Amendment rights to speech, press, and petition by

   speaking out critically online and to individuals who would listen about waste, fraud, and/or abuse

   by George Gretsas and within City, and spoke about police harassment he endured. See ¶¶26-28.

            70.      Defendant Mead retaliated against Plaintiff by conducting or participating in a

   retaliatory and clandestine investigation without a legitimate law enforcement purpose, keeping it

   off the books, but providing the results of this investigation which included false and/or misleading

   statements and/or arrangements of documents to his supervisor Gretsas. Mead was directed to

   perform this improper investigation by Defendant Gretsas and/or Chief Rolle, and Mead was aware

   that the Dossier he helped construct contained false and misleading material and would be used to

   harm and defame Plaintiff. See ¶¶31 and 34-35, and 43.

            71.      Defendant Mead’s retaliatory actions would chill a man of ordinary firmness in the

   exercise of well-established rights.

            72.      Defendant Mead would not have retaliated against Plaintiff, but for Plaintiff’s

   exercise of his well-established First Amendment rights, and there is a causal connection between

   the exercise of Plaintiff’s rights and the adverse conduct of Defendant Rivera.



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            73.      Defendant Mead’s actions in violating Plaintiff’s constitutional rights were done

   under color of state law, and were malicious and wanton, displaying deliberate indifference to the

   rights and liberties of Plaintiff.

            74.      As a direct and proximate result of Defendant Mead’s actions, Plaintiff suffered

   damages from the denial of his constitutional rights under the First Amendment to the United

   States Constitution and is accordingly entitled to relief under 42 U.S.C. §1983.

            WHEREFORE, Plaintiff prays that this Court will:

                     a.    Enter judgment for Plaintiff against Defendant Mead for compensatory,
                     nominal, and punitive damages.

                     b.     Award Plaintiff the costs of this action, including reasonable attorneys’ fees
                     pursuant to 42 U.S.C. §1988.

                     c.       Grant such other and further relief as is just.

                                                  COUNT III
                  VIOLATION OF PLAINTIFF’S CIVIL RIGHTS against George Gretsas
                               for illegally gathering information on Plaintiff
                       in retaliation for Plaintiff’s Protected Activities I, II and III.
                                                42 U.S.C. §1983

            75.      Plaintiff realleges and reavers paragraphs 1 – 6, 8-21, 23, 26-28, and 30-37, as

   though fully set forth herein.

            76.      Plaintiff is a citizen for purposes of 42 U.S.C. §1983.

            77.      Defendant Gretsas by and though his actions set forth herein, violated Plaintiff’s

   rights protected by the First Amendment to the U.S. Constitution.

            78.      Defendant Gretsas, sued in his individual capacity, is a “person'' according to 42

   U.S.C. §1983, and at all times material hereto, was employed by City of Homestead.

            79.      Plaintiff exercised his First Amendment rights to speech, press, and petition by

   speaking out critically online and to individuals who would listen about waste, fraud, and/or abuse

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   by Defendant Gretsas and within City and spoke out about police harassment he endured. See

   ¶¶26-28.

            80.      Defendant Gretsas retaliated against Plaintiff by ordering his subordinates to

   perform a retaliatory and clandestine investigation without a legitimate law enforcement purpose,

   keeping it off the books, but providing the results of this investigation which included false and/or

   misleading statements and/or arrangements of documents to him. Gretsas then published all or

   parts of the Dossier he had ordered to be constructed containing false and misleading material – to

   employees, elected officials, and residents to harm and defame Plaintiff. See ¶¶30-37.

            81.      Defendant Gretsas’ retaliatory actions would chill a man of ordinary firmness in

   the exercise of well-established rights.

            82.      Defendant Gretsas would not have retaliated against Plaintiff, but for Plaintiff’s

   exercise of his well-established First Amendment rights, and there is a causal connection between

   the exercise of Plaintiff’s rights and the adverse conduct of Defendant Gretsas.

            83.      Defendant Gretsas’ actions in violating Plaintiff’s constitutional rights were done

   under color of state law, and were malicious and wanton, displaying deliberate indifference to the

   rights and liberties of Plaintiff.

            84.      As a direct and proximate result of Defendant Gretsas’ actions, Plaintiff suffered

   damages from the denial of his constitutional rights under the First Amendment to the United

   States Constitution and is accordingly entitled to relief under 42 U.S.C. §1983.

            WHEREFORE, Plaintiff prays that this Court will:

                     a. Enter judgment for Plaintiff against Defendant Gretsas for compensatory,
                        nominal and punitive damages.

                     b. Award Plaintiff the costs of this action, including reasonable attorneys’ fees
                        pursuant to 42 U.S.C. §1988.

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                     c. Grant such other and further relief as is just.

                                                 COUNT IV
               VIOLATION OF PLAINTIFF’S CIVIL RIGHTS against George Gretsas
            for creating and publishing false or misleading information concerning Plaintiff
                      in retaliation for Plaintiff’s Protected Activities I, II. And III.
                                              42 U.S.C. §1983

            85.      Plaintiff realleges and reavers paragraphs 1 – 6, 8-21, 23, 26-28, and 38-45 as

   though fully set forth herein.

            86.      Plaintiff is a citizen for purposes of 42 U.S.C. §1983.

            87.      Defendant Gretsas by and though his actions set forth herein, violated Plaintiff’s

   rights protected by the First Amendment to the U.S. Constitution.

            88.      Defendant Gretsas, sued in his individual capacity, is a “person'' according to 42

   U.S.C. §1983, and at all times material hereto, was employed by City of Homestead.

            89.      Plaintiff exercised his First Amendment rights to speech, press, and petition by

   speaking out critically online and to individuals who would listen about harassment and retaliatory

   following and investigations by HPD, due to his speaking about on waste, fraud, and/or abuse

   earlier, and Defendant Gretsas involvement therein. ¶¶26-28. Before and after running for office,

   Plaintiff spoke out about police harassment he endured.

            90.      Defendant Gretsas retaliated against Plaintiff by preparing false and/or misleading

   information concerning Plaintiff in the Dossier, and by communicating the false and misleading

   materials to employees, elected officials, and residents to harm and defame Plaintiff. Defendant

   Gretsas this time provided all or parts of the Dossier to the Miami Herald who published the false

   and misleading information provided by Defendant Gretsas publicly damaging Plaintiff’s

   reputation. ¶¶38-45.


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            91.      Defendant Gretsas’ retaliatory actions would chill a man of ordinary firmness in

   the exercise of his well-established rights.

            92.      Defendant Gretsas would not have retaliated against Plaintiff, but for Plaintiff’s

   exercise of his well-established First Amendment rights, and there is a causal connection between

   the exercise of Plaintiff’s rights and the adverse conduct of Defendant Gretsas.

            93.      Defendant Gretsas’ actions in violating Plaintiff’s constitutional rights were done

   under color of state law, and were malicious and wanton, displaying deliberate indifference to the

   rights and liberties of Plaintiff.

            94.      As a direct and proximate result of Defendant Gretsas’ actions, Plaintiff suffered

   damages from the denial of his constitutional rights under the First Amendment to the United

   States Constitution and is accordingly entitled to relief under 42 U.S.C. §1983.

            WHEREFORE, Plaintiff prays that this Court will:

                     a. Enter judgment for Plaintiff against Defendant Gretsas for compensatory,
                        nominal and punitive damages.

                     b. Award Plaintiff the costs of this action, including reasonable attorneys’ fees
                        pursuant to 42 U.S.C. §1988.

                     c. Grant such other and further relief as is just.


                                     COUNT V
          VIOLATION OF PLAINTIFF’S CIVIL RIGHTS against CITY OF HOMESTEAD
                                     42 .S.C. §1983

            95.      Plaintiff realleges and reavers paragraphs 1 through 12, 14 through 25, and 26-28,

   and 40-54, as though fully set forth herein.

            96.      Plaintiff is a citizen for purposes of 42 U.S.C. §1983.




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            97.      This is an action by Plaintiff against City for redress due to the deprivation, under

   color of state law, statute, custom or usage, of rights, privileges and immunities secured to Plaintiff

   by the Constitution and the laws of the United States for deprivation of his rights. The deprivations

   were ongoing from 2017 to 2019 were in retaliation for Plaintiff’s exercise of his free speech rights

   as set forth at paragraphs 26 to 28, above, to wit: (a) reporting and publishing of alleged waste,

   fraud, and/or abuse, (b) publishing about the resultant harassment and retaliation by HPD; and (3)

   Plaintiff’s speaking out while running for Homestead mayor in 2019.

            98.      The unlawful actions alleged herein violate the First Amendment to the U.S.

   Constitution.

            99.      Defendant City is a “person'' according to 42 U.S.C. §1983 and is liable for

   unlawful actions ratified with the prior knowledge of - as well as the policies, customs, and

   practices established and/or ordered and participated in by - its final policy makers.

            100.     Defendant City, through its final policy makers, would not have retaliated against

   Plaintiff, but for Plaintiff’s exercise of his First Amendment rights, and there is a causal connection

   between the exercise of his rights and the adverse conduct.

            101.     Defendant City’s repeated actions in violating Plaintiff’s constitutional rights under

   color of state law were malicious and wanton, displaying deliberate indifference to the rights,

   liberties, and immunities of Plaintiff.

            102.     Defendant City’s repeated actions displayed a continuity of purpose.

            103.     The retaliatory animus and/or indifference of City’s final policy makers as to the

   retaliatory activity against Plaintiff was the proximate cause and the driving force behind the

   alleged adverse conduct and resultant damages. This occurred not just by ordering the unlawful

   and retaliatory acts before they occurred, but by prior ratification of the reasoning as well.

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            104.     There is thus a causal connection between Plaintiff’s repeated exercise of his first

   amendment rights, and the City’s repeated retaliatory conduct – ordered, acquiesced to, and ratified

   by the final policy makers.

            105.     Defendant City’s final policy makers would not have ordered their subordinates to

   repeatedly retaliate against Plaintiff, and/or directly retaliated against Plaintiff themselves, but for

   Plaintiff’s repeated exercise of his First Amendment rights.

            106.     Defendant City’s actions would chill a man of ordinary firmness in the exercise of

   well-established First Amendment rights.

            107.     Defendant City, acting through its Manager, and possibly Police Chief and Council,

   created and ordered a custom of abuse, having the force and effect of law, which constituted and

   evinced deliberate indifference to Plaintiff’s constitutional rights.

            108.     Defendant City’s custom and practice consisted of investigating Plaintiff, using

   official resources through improper channels and procedures, and repeatedly communicating the

   improperly gathered information with a false narrative to harm Plaintiff’s person, reputation, and

   career, and even going so far as to contact Plaintiff’s employer leading to his forced resignation,

   all in retaliation for Plaintiff’s continued exercise of his first Amendment rights to speech, press,

   and petition.

            109.     Defendant City’s custom and pattern of constitutional violations - ordered,

   commanded, committed, endorsed, and acquiesced to with the full knowledge of the final policy

   makers - was the driving force behind Plaintiff’s injuries alleged herein.

            110.     Defendant City’s custom and pattern is further elucidated by similar violations of

   constitutional rights with regard to William Rea, Eric, and Vanessa McDonough, and Ednamarie

   Hernandez, which are more fully alleged in the original Complaint in this matter and in separate

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   legal actions brought by them against the various Defendants named herein. In each described

   case, the City, by and through its ex-manager Gretsas and/or Chief Rolle and Council, and their

   subordinates, retaliated against various Plaintiffs for their exercise of First Amendment Rights.

            111.     As a direct and proximate result of the actions of City’s final policy makers,

   Plaintiff suffered damages from the denial of his constitutional rights under the First Amendment

   to the United States Constitution and is accordingly entitled to relief under 42 U.S.C. §1983.

            WHEREFORE, Plaintiff prays that this Court will

                     a. Enter judgment for Plaintiff and against City for compensatory and nominal
                        damages.

                     b. Award Plaintiff the costs of this action, including reasonable attorneys’ fees
                        pursuant to 42 U.S.C. §1988.

                     c. Grant such other and further relief as is just.

                                              DEMAND FOR JURY TRIAL

            Plaintiff hereby demands trial by jury of all issues so triable.

                                                Respectfully submitted,

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